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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 VICTOR FUENTES,                                :
           Plaintiff.                           :          CIVIL ACTION
                                                :          No. 18-5174
               v.                               :
                                                :
 ROYAL DUTCH SHELL PLC, et al.                  :
          Defendants.                           :

                                            ORDER

      AND NOW, this 23rd day of June, 2020, it is ORDERED that Plaintiff’s Motion to

Dismiss Without Prejudice (ECF No. 55) is GRANTED as follows:

      •   Plaintiff’s claims against the following Defendants are DISMISSED without

          prejudice: Royal Dutch Shell PLC; Shell Oil Company; and Pennzoil-Quaker State

          Company.

      •   The Clerk of Court is directed to amend the caption in this case to reflect the

          dismissal of the Defendants referenced in the prior bullet point.


                                            _s/ ANITA B. BRODY, J.________
                                            ANITA B. BRODY, J.



Copies VIA ECF on 06/23/2020
